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MEMO ENDORSED
                                                               July 8, 2024
                                                                                                      7/11/24
 VIA ECF
 The Honorable Lewis Kaplan
                                                                     Denied as moot in light of dkt 197.
 United States District Judge
 Southern District of New York
                                                                                                      7/11/24
 500 Pearl Street
 New York, NY 10007

        Re:     In re DiDi Global Inc. Securities Litigation, No. 1:21-cv-05807-LAK:
                DiDi Global Inc.’s Letter Motion for a Protective Order
                Regarding Plaintiffs’ Rule 30(b)(6) Deposition Notice

 Dear Judge Kaplan:

         Pursuant to Federal Rule of Civil Procedure 26(c) and the Court’s Individual Rules of
 Practice, DiDi Global Inc. (“DiDi” or the “Company”) respectfully submits this Letter Motion for
 a Protective Order with respect to Plaintiffs’ Amended Notice of a Rule 30(b)(6) Deposition, dated
 June 10, 2024 (enclosed herewith as Exhibit 1). The parties have met and conferred about the
 Amended Notice, but have been unable to reach a resolution. As a threshold matter, any Rule
 30(b)(6) Deposition of DiDi at this time would be premature, impractical, and inefficient,
 including because neither party has produced documents yet. Moreover, most (if not all) of the
 requested topics are overbroad, unduly burdensome, irrelevant, or otherwise improper regardless
 of the timing of the deposition. Accordingly, DiDi respectfully requests that any Rule 30(b)(6)
 deposition be adjourned until the parties have substantially completed document production, at
 which time the parties can meet and confer on a new date and scope for any topics still at issue.

 BACKGROUND

         On May 6, 2024, only days after Defendants answered the Second Amended Complaint
 and weeks before the preliminary conference, Plaintiffs served a Rule 30(b)(6) notice (the “Initial
 Notice”) demanding a deposition of DiDi on more than 80 topics and subparts. (Exhibit 2.) At
 this time, Plaintiffs had not even served a document request yet. In fact, the parties had just
 submitted their Rule 26(f) report the prior business day.

         On May 22, 2024, the parties discussed the issue at the Court’s initial conference. DiDi
 pointed out that the Initial Notice was premature and included many topics about the merits and
 substance of the case. (See May 22, 2024 Tr. at 14:15-15:2.) DiDi suggested any Rule 30(b)(6)
 deposition be postponed until after the parties produce documents. (Id.) Plaintiffs seemed to
 agree, proposing the parties “start[] with the 30(b)(6) and have it by a date by which the documents
 will be produced.” (Id. at 14:1-2; see also id. at 6:25-7:2 (“So, we actually have issued 30(b)(6)
 deposition notices already. As far as taking depositions, we need the documents.”).) There was
 no ripe dispute for the Court, and the parties agreed to meet and confer further. (Id. at 14:15-15:2.)

       On June 7, 2024, DiDi sent Plaintiffs a letter reiterating that the Initial Notice was
 premature and substantively improper for a variety of reasons. DiDi also highlighted that many
